
PER CURIAM.
We have for review J.A. v. State, 779 So.2d 390 (Fla. 2d DCA 2000), in which the Second District Court of Appeal certified the following questions to be of great public importance:
WHAT LEVEL OF SCRUTINY MUST A COURT APPLY WHEN REVIEWING THE CONSTITUTIONALITY OF A JUVENILE CURFEW ORDINANCE?
WHETHER THE TAMPA JUVENILE CURFEW ORDINANCE IS CONSTITUTIONAL!;.]
Id. at 390-91. We have jurisdiction pursuant to article V, section 3(b)(4), Florida Constitution.
In T.M. v. State, 784 So.2d 442 (Fla.2001), we answered the first certified question by holding that strict scrutiny applies to juvenile curfew ordinances. As in T.M., we decline to answer the second certified question, quash the decision of the district court, and remand this case for further proceedings.
It is so ordered.
WELLS, C.J., and SHAW, HARDING, ANSTEAD, PARIENTE, LEWIS and QUINCE, JJ., concur.
